IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF VIRGINIA
HARRISONBURG DIVISION

JOHN DOE 4, by and through his next

friend, NELSON LOPEZ, on behalf of

himself and all persons similarly situated,

Plaintifj%,
Civil Action No. 5:17-cv-00097-EKD

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)
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v. )
)
SHENANDOAH VALLEY JUVENILE )
CENTER COMMISSION, )
)

Defendant. )

MEMORANDUM IN SUPPORT OF DEFENDANTS’
MOTION TO EXCI..U.|)E THE EXPERT TESTIMONY OF DR. PAUL DIVER

Defendant Shenandoah Valley Juvenile Center Commission (“SVJC”), by counsel, sets

forth the following in support of its Motion to Exclude the Expert Testimony of Dr. Paul Diver.
INTRODUCTION

On September 10, 2018, Plaintiff served his expert disclosures under Rule 26(a)(2).
Exhibit 1, Plaintiff’s Fed. R. Cl`v. P. 26(a)(2)(A) Expert Witness Disclosures. Those disclosures
included the designation of statistical analysis and calculations set forth in a report by Paul G.
Diver, Ph.D. Exhibit 2, Expert Report of Dr. Paul Diver (“Dl'ver Report”). Diver’s Report avers
that he Was engaged “to systematically quantify the time spent in seclusion imposed against class
members by employees of the [SVJC].” Id., 11 3. Dr. Diver Was also asked to “quantify the use of
force by employees of SVJC against class members.” Ia'. Finally, Dr. Diver Was asked “to analyze
the time periods before and after SVJC changed its behavioral management program in August

2016 for both time spent in seclusion and use of force.” Id.

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Dr. Diver’S analysis does not really include expert opinions, so much as mathematical
calculations The report includes various tabulations, charts and graphs regarding the number and
duration of incidents in which UAC’s at SVJC were subjected to seclusion and/or use of force.
The only opinion asserted in his report is that “[o]f these incidents, there are a substantial number
which exceeded AMA, JDAI, SVJC and expert attested acceptable standards in terms of duration
of time in seclusion and use of force and with regard to class members who had exhibited self-
injurious behavior.” Id., 11 39.

Defendant deposed Dr. Diver on October 16, 2018. Exhibit 3, Transcript of Deposill'on of
Paul Diver (“Diver Dep. ”). Dr. Diver’S testimony at deposition revealed a variety of fundamental
flaws in his calculations and analysis. Based upon his deposition testimony and the information
in his report (or lack thereot), the Court should exclude Dr. Diver from testifying at trial of this
matter.

First, Dr. Diver’s analysis is wholly irrelevant to the case before the Court. Though the
certified class in this case is limited to current and future UAC’S at SVJC (ECF Dkt. No. 63),
Dr. Diver analyzed incidents involving seclusion and use of force at SVJC between June 2015 and
May 2018. Diver Report, 11 8. The data examined by Dr. Diver relates solely to UAC’s who
resided at SVJC before the class was even certified, and the vast majority of the incidents included
in his analysis relate to individuals who are not class members. That alone renders his testimony
irrelevant, for the reasons set forth in Defendant’s Motion for Protective Order. ECF Dkt. No.’s
92, 93.

Even within the timeframe Dr. Diver reviewed, he only analyzed data regarding a Subset
of the UAC’s who have been placed at SVJC. Dr. Diver’s analysis only includes those residents

who engaged in behavior that resulted in some period of room confinement His report ignores

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any and all behavioral incidents that were handled by staff without having to resort to use of force
or room confinement Dr. Diver has no idea how many such incidents may have occurred during
the timeframe he studied, nor does not know the total number of UAC’s who were placed at SVJC
during that period. ln other words, Dr. Diver did not assess SVJC’s treatment of all UAC’s within
any given timeframe. Rather, he only reviewed information relating to a subset of UAC’s, and
that subset does align in any respect with the class that has been certified in this case.

Dr. Diver’s report is also irrelevant because it includes no analysis of the underlying
reasons why force or room confinement was necessary in any given incident. For example, he
conducted no analysis to determine how many incidents involving use of force arose out of a
UAC’S assault on a staff member or fellow resident of SVJC. Nor did he consider in any way the
efforts undertaken by SVJC staff to resolve behavioral incidents without use of force or room
confinement In other words, Dr. Diver added up the number and duration of incidents involving
room confinement and/or use of force, but without any qualitative context, such calculations are
meaningless

Second, Dr. Diver’s analysis is based upon an inadequate factual foundation. His
calculations were drawn exclusively from a spreadsheet that was prepared by unknown individuals
working for Plaintiffs counsel. Dr. Diver could not say how the information in the spreadsheet
was compiled or identify the source documents from which that data was drawn. He has no
knowledge of the criteria applied by those who compiled the spreadsheet to determine whether
and how to include certain incidents on the spreadsheet, and he himself did not cross-check the
spreadsheet against any disciplinary reports, incident tracking reports, or other source documents
produced in this case by SVJC. Ultimately, he has no idea where the numbers in the spreadsheet

came from or whether they are accurate.

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Finally, Dr. Diver’s testimony should be excluded because his analysis is wholly
unreliable Because the spreadsheet on which he relied was overinclusive and factually flawed,
he included in his calculations of time spent in seclusion various incidents in which UAC’s
voluntarily remained in their rooms. He also counted overnight sleeping hours (when all UAC’s
are confined to their rooms) toward the duration of incidents of seclusion. His analysis also
includes multiple incidents in which time in seclusion was double-counted. As a result, the
calculations in Dr. Diver’s report are significantly overstated, and many of the charts, tables and
graphs in his report are inaccurate When asked at deposition whether the numbers regarding time
in seclusion were correct, Dr. Diver admitted that he “would need to spend more time with the
data going through to confirm one way or the other.” Diver Dep. pp. 114.']8-]]5.']. As a result
of these inherent flaws in his report and analysis, Dr. Diver’s testimony is unreliable and
inadmissible

S'I`ANDARDS GOVERNING ADMISSION OF EXPERT TESTIMONY

The admission of expert opinions into evidence is governed by F ederal Rule of Evidence
702. That rule provides:

A witness who is qualified as an expert by knowledge, skill,

experience training_, or education may testify in the form of an
opinion or otherwise if:

(a) the expert’s scientific, technical, or other specialized knowledge
will help the trier of fact to understand the evidence or to determine
a fact in issue;

(b) the testimony is based on sufficient facts or data;

(c) the testimony is the product of reliable principles and methods;
and

(d) the expert has reliably applied the principles and methods to the
facts ofthe case

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Rule 702 reflects the long-standing principle that where an expert applies improper
methodology, relies on incorrect facts and/or applies incorrect standards, the expert’s opinion
should be excluded. Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579, 591-93 (1993);
see also General Electric C0. v. Joiner, 522 U.S. 136, 146 (1997). Indeed, Daubert acknowledges
the Court’s obligation “to ensure the reliability and relevance of expert testimony.” Kumho Tire
Co., Ltd. v. Carmz`chael, 526 U.S. 137, 152 (1999) (emphasis added). The Court possesses “broad
latitude” to take into account any “factors bearing on validity that the court finds to be useful,” and
the Court’s exercise of its gatekeeping function will “depend upon the particular expert testimony
and the facts of the case.” E.E.O.C. v. Freeman, 778 F.3d 463, 466 (4th Cir. 2015) (cimtions
omitted).

An expert’s testimony must be relevant to the issues in the case “Rule 702’s ‘helpfulness’
standard requires a valid scientific connection to the pertinent inquiry as a precondition to
admissibility.” Daubert, 509 U.S. at 591-92. “Expert testimony which does not relate to any issue
in the case is not relevant and, ergo, non-helpful.” Id.

Expert opinions must also be based upon adequate facts, principles and methodologies
“[T]he trial court must probe the reliability and relevance of expert testimony any time such
testimony’s factual basis, data, principles methods, or their application are sufficiently called into
question.” E.E.O.C. v. Freeman, 778 F.3d 463, 472 (4th Cir. 2015). Rule 702 requires that “the
proffered expert opinion is based on scientific, technical, or other specialized knowledge and not
on belief or speculation.” Nease v. Ford Motor Co., 848 F.3d 219, 229 (4th Cir. 2017) (emphasis
in original); Tyger Constr. C0. Inc. v. Pensacola Constr. Co., 29 F.3d 137, 142 (4th Cir. 1994)
(“An expert’s opinion should be excluded when it is based on assumptions which are speculative

and are not supported by the record.”).

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Statistical analysis is inadmissible when it contains “errors or mistakes” revealing “faulty
methods and lack of investigation.” E.E.O.C. v. Freeman, 778 F.3d at 470, quoting Brown v.
Burlington N. Sama Fe Ry. Co. , 765 F.3d 765, 773 (7th Cir.2014); see also Dart v. Kitchens Bros.
Mfg. Co. , 253 Fed.Appx. 395, 399 (5th Cir.2007) (noting that “basic mathematical errors and flaws
in methodology” were appropriate reasons to exclude an expert). Exclusion of statistical evidence
also has been deemed appropriate where an expert “relied on the plaintiffs’ compilations of data,
which gives rise to a ‘common-sense skepticism’ regarding the expert’s evaluation, and did not
seek to verify the information presented to him.” Munoz v. Orr, 200 F.3d 291, 301-02 (Sth Cir.
2000) (citations omitted).

Nor can any expert, especially a statistician, disregard relevant facts or data. Courts “have
consistently excluded expert testimony that ‘cherry-picks’ relevant data,” EEOC v. Freeman, 778
F.3d at 469 (collecting cases); Lipz'tor, 892 F.3d at 634 (“Result-driven analysis or cherry-picking,
undermines principles of the scientific method and is a quintessential example of applying
methodologies (valid or otherwise) in an unreliable fashion.”); Cady v. Ride-Away Handicap
Equip. Corp., 702 F. App’x 120, 127 (4th Cir. 2017) (affirming district court’s exclusion of expert
testimony due to the expert’s “various methodological flaws and omissions”). Thus, a statistical
expert’s review of data cannot be limited to only a subset of incidents or class members E.E. O. C.
v. Freeman, 778 F.3d at 468-69.

With regard to each of these issues, the party proffering the expert testimony bears the
burden to prove that the testimony is admissible under Rule 702. Higginbotham v. KCS Int'l, Inc. ,
85 F. App’x 911, 915 (4th Cir. 2004) (quoting Daubert) (“‘[T]he proponent of the expert proffer

bears the burden of establishing admissibility by a preponderance of proof.”’).

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ARGUMENT
1. Dr. Diver’s Analysis Is Irrelevant and Will Not Help the Trier of Fact.
On June 27, 2018, the Court certified this matter as a class action and defined the certified class
to include:
Latino unaccompanied alien children (UACS) who are currently
detained or Will be detained in the future at Shenandoah Valley
Juvenile Center who either: (i) have been, are, or will be subject to
the disciplinary policies and practices used by SVJC staff; or
(ii) have needed, currently need, or will in the future need care and
treatment for mental health problems while detained at SVJC.
ECF Dkt. No. 63. The class is explicitly limited to current and future UAC residents at SVJC.
Therefore, as set forth in Defendant’s recently-filed Motion for Protective Order (ECF Dkt. No.’s
92, 93), information related to former UAC’s who no longer reside at SVJC is irrelevant to the
Plaintiffs claims regarding SVJC’s treatment of the current class members
However, Diver’s Report notes that his analysis was based on data regarding “1172
behavioral incidents spanning June 2015 through May 2018 involving 131 class members.” Diver
Report, 11 8. After removing a number of duplicate entries and incidents where a resident’s
confinement was due to a medical necessity, Dr. Diver reported that his analysis included 972
incidents involving room confinement for 121 different individuals at SVJC. Diver Dep.

pp. 65 .']9-6 7.'2. This dataset is irrelevant to the current class claims in several ways

A. Dr. Diver’s Analysis Looks at Former UAC’s, and Not at Members of the
Certified Class.

First, the 131 “class members” included in Dr. Diver’s analysis are not actually members
of the class that has been certified by the Court. ln fact, Dr. Diver had no idea when any of the
individuals included in his analysis arrived at SVJC, when they left, or how many of them currently
reside there Diver Dep., pp. 32.'9-33:1 7. Only three of the 131 individuals included in the dataset

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that Dr. Diver analyzed were residents at SVJC when the class was certified on June 27, 2018, and
only two of them are current residents and class members Exhibit 4, Declaration of Kelsey Wong.
Because Dr. Diver’s analysis relates almost entirely to individuals who are not class members his
analysis and testimony are irrelevant to the claims of the certified class

B. Dr. Diver’s Analysis ls Based on an Irrelevant Timeframe.

Second, even under Plaintiff’s view of the case and the scope of relevant discovery (in
which information about former UAC’s would be relevant), the timeframe reviewed by Dr. Diver
of June 2015 through May 2018 is overly broad. In various discovery requests served in this
action, Plaintiff defined the “relevant time period” for purposes of discovery in this case as limited
to the period between “October 4, 2015 and May 1, 2018.” See, e.g., Defendant’s Mem. In Supp.
Of Mot. for Protective Order, ECF Dkt. No. 93, at Ex. l, p. 3 . However, Dr. Diver’s analysis
includes incidents that occurred prior to this purportedly “relevant time period.” Thus Dr. Diver’s
analysis incorporates data that even the Plaintiff has deemed irrelevant for purposes of discovery.

C. Dr. Diver’s Analysis 0nly Examines A Subset of the UAC’s and/or
Behavioral Incidents T hat Occurred Within the Chosen Timeframe.

Finally, even if it were appropriate for Dr. Diver to review information dating from
June 2015 through May 2018, the data that he relied upon is limited to a subset of the residents
and behavioral incidents that occurred at SVJC during that period. Dr. Diver obtained his data
from a spreadsheet that only included behavioral incidents which led to some period of room
confinement Diver Dep. pp. 12.'17-20. He did not consider, and received no information
regarding, behavioral incidents that did not lead to a resident spending time in room confinement
Id., p. ]2.'21-]3.'3. He has no idea how many behavioral incidents may have occurred during the

timeframe he reviewed that were handled or de-escalated by SVJC staff without resort to force or

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room confinementl ]d., p. 13.‘13-18. Thus, Dr. Diver conceded that his analysis related only to a

subset of the UAC’s at SVJC:
Q Well, let me ask it this way: Do you know how many residents
were at Shenandoah during the three-year timeframe that you
reviewed?
A How many total residents?

Correct.

No.

Okay. lt could have been more than 131, correct?

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Correct.

Q And you don't have any idea how many more residents may
have been there who never had a behavioral incident that resulted in
room confinement do you?

A Correct.
Q So the information that you were given relates to a subset of the
residents at Shenandoah during that three-year period, that subset
being the residents who had behavioral incidents that resulted in
room confinement correct‘?
A That is my understanding

Ia’., pp 35.'9-36:6.

Therefore, regardless of the appropriate timeframe for his analysis Dr. Diver did not

consider all of the UAC’s who have resided at SVJC and been “subject to the disciplinary policies

 

l Dr. Diver was provided with a “Behavioral lncident Tracking” worksheet that was compiled by
SVJC staff and produced in discovery in this matter. However, he testified that he did not use the
information in the SVJC worksheet at all in performing his analysis in this case Diver Dep.
pp. 41 .'3-42.'12. According to the “Behavioral lncident Tracking” document prepared by SVJC,
there were at least 1817 behavioral incidents at SVJC between June 2015 and March (not May) of
2018. Wong Dec., 11 9,' see also, Exhibit 5, Behavioral lncident Tracking Worksheet. This
illustrates the limited scope of Dr. Diver’s dataset regarding behavioral incidents in the timeframe

he reviewed.

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and practices used by SVJC staff.” Order Certi]j)ing Class, ECF Dkt. No. 63. He looked only at
a select group of individuals namely, those UAC’s whose behavior at SVJC necessitated the use
of force or room confinement He did not examine any data regarding the rest of the UAC’s at
SVJC during the time period he reviewed.

In fact, SVJC housed a total of 257 UAC’s between June 1, 2015 and May 1, 2018, the
period covered by Dr. Diver’s work. Wong Dec., 11 4. Thus Dr. Diver’s analysis considered the
behavioral incidents and associated staff treatment of less than half of the UAC’s during the period
of his review.2 lt is axiomatic that one cannot get a reliable sense of the frequency with which
force is used at SVJC by only looking at those instances in which force was used. Nor can one
readily appreciate how often residents are placed in room confinement by only looking at those
residents who have been confined.

This is precisely the type of “cherry-picking” of data that the 4th Circuit has rejected as
unreliable because it “produces a misleadineg favorable result by looking only to ‘good’
outcomes” E.E.O.C. v. Freeman, 778 F.3d at 469-70 (Agee, J., concurring). The omission of
relevant data is particularly problematic in statistical analyses involving class actions In such
cases Statistical evidence must be tied to the actual class and relevant time period at issue Id.,
citing Lilly v. Harris-Teeter Supermarket, 720 F.3d 326 (4th Cir. 1983),' EEOC v. Am. Nat’l Bank,
652 F.2d 1176 (4th Cir. 1981). Thus courts have rejected statistical expert analysis that only
examined a limited subset of the relevant data “to draw conclusions about a much broader class”

Id., citing Lilly, 720 F.3d at 337.

 

2 The Spreadsheet includes 131 different individuals but after removing incidents of medical
confinement Dr. Diver’s analysis reviewed 972 incidents involving 121 UAC’s Diver Dep.
pp. 65:19-67.'2.

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Dr. Diver’s calculations seek to apply conclusions regarding the use of force and room
confinement against a subset of UAC’s over a three-year period to all of the UAC’s placed at SVJC
during that timeframe Because his analysis omits any consideration of the incidents that did not
lead to room confinement and/or the UAC’s who were not subject to such measures his analysis
is irrelevant and inadmissible

2. Dr. Diver’s Analysis Is Based on an Inadequate Factual Foundation.

A. Dr. Diver Cannot Identify the F actual Bases for His Analysis.

Though Dr. Diver’s Report identifies a vast body of documents and information as items
he relied upon (Diver Report, 11 4, Appx. B), Dr. Diver testified that he relied exclusively upon a
spreadsheet that he received from Plaintiff s counsel regarding behavioral incidents at SVJC.
Diver Report 1111 8-9,' Diver Dep. p. 28.']-]5. ln separate columns the spreadsheet includes
separate entries for each purported behavioral incident that resulted in a UAC spending time in
seclusion, and each entry includes the name of the resident the date of the incident a brief
description of the incident whether restraints were used, the date and time a resident was placed
in seclusion and released from seclusion, as well as a count of the time spent in seclusion for each
entry. Exhibit 6, Spreadsheet of Behavioral lncidents (“Spreadsheet”).

Dr. Diver testified that he did not actually review any of the source data from which the
Spreadsheet was compiled, and he simply accepted the information on the Spreadsheet at face
value:

Q. And you personally did not do anything to look behind the
data in the spreadsheet correct?

A. For the purposes of the analysis no.

Q. So the accuracy of your analysis depends upon the accuracy
of the spreadsheet correct?

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A. Correct.
Diver Dep. pp. 40.'18-41.'2. In essence, Dr. Diver just took the numbers and incidents in the
Spreadsheet and added them up. He did no independent analysis to verify the accuracy of entries
in the Spreadsheet; he just did the math.

Dr. Diver conceded at deposition that he had no insight into how the Spreadsheet was
prepared. Diver Dep. pp. 38.']3-40.'] 7. He does not know (i) who compiled the Spreadsheet;
(ii) how many people were involved in that effort; (iii) what their qualifications for performing
such work might be; (iv) what records they relied upon to compile the data in the Spreadsheet or
(v) what criteria they used in deciding what information to include in the Spreadsheet Id. Thus,
for example, Dr. Diver was unable to say whether the incidents of “seclusion” identified in the
Spreadsheet included incidents where a resident voluntarily chose to remain in his room instead of
going to school, recreation or other programming at SVJC. Id, pp. 48.'] 2-49.'6. In short Dr. Diver
has no idea how the data on which he relied was compiled, and he cannot vouch for its accuracy
or validity.

lt is the proponent’s burden to establish that expert opinions are based on reliable data
(Higginbotham, 85 F. App’x at 915), and Dr. Diver is thoroughly unable to make such a showing
with regard to the Spreadsheet on which he relied. Moreover, additional scrutiny of the factual
underpinnings for an expert’s analysis is appropriate where the expert was simply “spoonfed”
information from a party’s counsel. Munoz v. Orr, 200 F.3d 291, 301-02 (5th Cir. 2000) (citations
omitted) (noting that an expert’s “reli[ance] on the plaintiffs’ compilations of data. . .gives rise to
a ‘common-sense skepticism’ regarding the expert’s evaluation,” especially where the expert “did

not seek to verify the information presented to him.”)

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Dr. Diver simply took at face value, without any validation or cross-checking of source
data on his part a compilation of information prepared by unknown individuals in the employ of
Plaintiffs counsel. Dr. Diver has no idea how the information in the Spreadsheet was compiled
or selected for inclusion. He cannot identify the factual basis underlying his own analysis nor can
he verify its accuracy or reliability. Thus his analysis is inadmissible

B. Dr. Diver’s Analysis Fails to Consider Important Data or Variables Regarding the
Incidents in the Spreadsheet

Even if Dr. Diver could establish an adequate factual foundation for his analysis (i.e. by
verifying the process by which the Spreadsheet was compiled and the accuracy of the information
therein), his analysis is also unreliable because of the information it fails to consider.

As set forth above, Dr. Diver only reviewed information regarding a subset of the UAC’s
at SVJC during a given period. He concluded that there were 972 incidents between June 2015
and May 2018 in which UAC’s were placed in room confinement He did not analyze the other
roughly 850 incidents that are identified in the Behavioral lncident Tracking computation prepared
by SVJC. Wong Dec., 11 9. As a result his analysis failed to consider a large portion of the
behavioral incidents involving UAC’s at the facility.

lt is also problematic that Dr. Diver did not account for any relevant variables that might
justify the use of confinement or force at SVJC. He added up the amount of time certain UAC’s
spent in room confinement or restraints but Dr. Diver did not evaluate any data regarding the
reasons why such measures were employed, nor did he consider data explaining the duration of
such room confinement or restraints For example, Dr. Diver could not say how many behavioral
incidents at SVJC were handled or de-escalated without any use of force or room confinement
Diver Dep. p. 13.']3-]8. Nor did he analyze the reasons why force or confinement were used or
categorize the behaviors that led to use of force or confinement Diver Dep. pp. 24.']6-25.'17;

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155.'1 1-156.'11. Thus for example, Dr. Diver could not say how many incidents of those he
actually included in his analysis arose out of a UAC assaulting a staff member or another resident
at SVJC. Id. Nor did Dr. Diver consider any information regarding the reasons why a UAC was
kept in restraints or room confinement for any given duration of time ld.

As a result Dr. Diver’s analysis omits any consideration of the factual record regarding the
reasons why the incidents he reviewed resulted in use of force or room confinement for a given
duration. Without some examination of the reasons why force or confinement were used and/or
continued for longer periods of time, one cannot begin to say whether such use of restraints or
confinement was justified, appropriate or objectively unreasonable Dr. Diver’s report only tells
part of the story, and the probative value of his report is undermined by the lack of any causal
analysis of SVJC’s use of force and confinement

3. Dr. Diver’s Analysis Is Fundamentally Flawed and Unreliable.

Dr. Diver’s analysis is also unreliable and inadmissible because it includes various significant
flaws in methodology leading to erroneous calculations Ultimately, his analysis grossly overstates
the number of incidents and time spent in confinement for various individuals in the group he
assessed.

A. T he Analysis Includes Incidents in Which a Resident Refused to Leave his Room.

First, because he simply relied on the data in the Spreadsheet prepared by Plaintiff s
counsel, Dr. Diver did not delineate between incidents in which a UAC was placed in room
confinement by SVJC staff and those incidents in which the resident was free to leave his room
but refused to do so. Dr. Diver conceded that he did not exclude entries on the Spreadsheet that

indicated a UAC remained in his room voluntarily:

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Q When you did your analysis you did not take into account
whether a resident refused to leave his room at any point correct?

A Correct.

Q You included that as an incident of seclusion and you included

the time spent in those specific incidents as time in seclusion for

purposes of your report didn't you?

A Correct.

Q And as we sit here today, you're not able to say how many of

those incidents there were where a resident refused to leave his

room, are you?

A Specifically, no.

Q And you're not able to say how much time spent in seclusion by

any given resident was attributable to that resident refusing to leave

his room, are you?

A Under that definition specifically, no.
Diver Dep. pp. 87.'11-88: 7; see also, Ia'. pp. 5 6322-5 7.'4, 74.'19-75.'6. Though he was not able to
say how many of the incidents he reviewed involved a resident refusing to participate in
programming or leave his room, Dr. Diver conceded that there were seven entries (out of 32) on
the first page of the Spreadsheet alone which indicated that the resident had voluntarily chosen to
stay in his room instead of engaging in programming Id. pp. 76.'16-78.'2,' Spreadsheet at lines 2,

4, 16, 21 -23, 27.3 On the face of the Spreadsheet itself, it appears there are at least 82 entries that

involved a resident refusing to leave his room. Wong Dec., 11 7.

 

3 At deposition, Dr. Diver was also presented with an example in which SVJC’s administrative
records reported that a resident was “not ready to leave his room” after being placed in room
confinement Diver Dep. pp. 80.'14-85.'4. However, this notation was not included in the
Spreadsheet provided to Dr. Diver. Id. This example illustrates that the Spreadsheet alone may
not identify all instances in which a resident chose to remain in his room voluntarily after
initially being placed in confinement by SVJC. Dr. Diver did not review any administrative
reports to assess whether any portion of a resident’s time in seclusion was self-imposed. Ia'.

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As a result Dr. Diver’s analysis both in its counts of incidents involving seclusion and of
hours spent in seclusion, includes a significant number of incidents in which a UAC was not
confined to his room by SVJC staff, but voluntarily chose to remain in his room. Including such
voluntary incidents in his analysis obviously skews the data and exaggerates the use of room
confinement or seclusion as a disciplinary or safety tool at SVJC. This alone, renders his analysis
inherently flawed and deeply unreliable

B. T he Analysis Includes Sleeping Hours When All Residents’ of SVJC are Confined
to T heir Rooms.

Dr. Diver’s calculations of time spent in seclusion are also inflated by virtue of the fact that
he did not account for the overnight hours in which all residents are confined to their rooms
Dr. Diver conceded that each resident has his own individual room at SVJC, and he understands
that all residents are placed in their rooms at night Diver Dep. pp. 88.'13-89.'12. However, he
does not have any idea the specific time when residents are confined to their rooms each night or
when they are released from their rooms in the morning, nor does he know the total time each
resident spends in his room during the overnight hours Id., p. 90.'3-7. Yet the totals of time spent
in seclusion contained in Dr. Diver’s analysis included numerous instances in which a resident was
only kept in room confinement because it was already past bedtime. Id., p. 92.'7-20 (noting that
his analysis “does not account for the sleeping hours.”).

Once again, a specific example from the Spreadsheet illustrates the inflation caused by
Dr. Diver’s inclusion of “sleeping hours” in his counts of time in seclusion. The second incident
listed on the Spreadsheet relates to an individual (initials A.P.R.) 4 who Was placed in room

confinement on December 7, 2017 at 7:25 pm and released back into programming on December 8,

 

4 For the reasons set forth in the Protective Order entered in this case that the Court’s Order to Seal
the exhibits to Defendant’s Motions to Exclude Experts individual UAC’s are referred to only by
their initials and not be their full names

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2017 at 8:00 am. Diver Dep. pp. 90.'8-91.'15,' Spreadsheet line 3. Even though the majority of
this time involved the overnight “sleeping hours” and even though the individual was released
alongside the rest of his peers the following morning, Dr. Diver counted this incident as involving
12 hours and 35 minutes of seclusion. Id. This is but one example of many in which Dr. Diver
deemed residents to be “in seclusion” when they were simply sleeping in their rooms in the
overnight hours just like all of the other residents

Notably, Dr. Diver explained that he could develop a methodology to back out the sleeping
hours from one’s analysis but he did not apply that methodology in preparing his report Diver
Dep. pp. 92.'21-93.'18. lnstead, he simply accepted at face value the counts of time in seclusion
that were listed on the Spreadsheet and ignored the fact that a substantial portion of those hours
were time when all residents were asleep in their rooms This too, is an inherent flaw that renders
Dr. Diver’s analysis overstated and unreliable

C. Dr. Diver’s Analysis Includes Numerous Instances of Double-Counting.

ln his Report Dr. Diver noted that he removed from the Spreadsheet those entries that
appeared to be duplicative Diver Report p. 4, fn. 7. He testified that his goal was to avoid double-
counting incidents and hours spent in seclusion. Diver Dep. pp. 93.'19-94:2,‘ 150.'11-151.'4.
Dr. Diver acknowledged at deposition that failing to remove duplicative entries “would render
certain counts higher than they would otherwise be.” Ia'. Thus Dr. Diver set up his computer
software to screen for duplicative entries on the Spreadsheet Id. pp. 172.'13-1 73 .'4. However, he
apparently did not conduct any additional review to ensure that all examples of duplicates were
removed from his analysis

At deposition, Dr. Diver was confronted with two examples of substantial double-counting

in the Spreadsheet that affected Dr. Diver’s analysis Id. pp. 94.'3-110:12. Dr. Diver’s Report

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identifies a resident with the initials D.N. as having experienced 37 incidents in seclusion with a
total time in seclusion of 1630 hours Diver Report., p. 9, Table 3. Dr. Diver’s Report suggests
that this individual had a much higher total for time in seclusion that all but one of the other UAC’ s
included in Dr. Diver’s analysis Id. However, a number of the entries on the Spreadsheet
involving D.N. were doubled, tripled and even quadrupled. Spreadsheet at lines 217-220; 221 -
222,' 227-233,' 234-236,' 237-239,' 240-243,' 244-246. For example, the Spreadsheet includes

entries with the data below regarding time in seclusion:

 

 

 

 

Line Begin date Begin Time End Date End Time Time of Seclusion
234 1/7/2017 19:45 1/10/2017 18:00 70:15
235 1/8/2017 19:45 1/10/2017 18:00 46:15
236 1/9/2017 18:30 1/10/2017 18:00 23:30

 

 

 

 

 

 

 

 

Spreadsheet airlines 23 4-23 6. As established by the overlapping date range, the latter two entries
(lines 235 and 23 6) are duplicative of the entry in line 234. Id. However, Dr. Diver included them
as separate incidents in his analysis:

Q And so for lines 234 through 236 you have a single incident that

resulted in room confinement spanning almost three days 70 hours

and 15 minutes but under your analysis it's treated as three incidents

totaling What? 140 hours of time, correct?

A You might say roughly.
Diver Dep. pp. 104.'19-105.'3. Ultimately, after reviewing a host of other examples of double-
counting D.N.’s incidents and time in seclusion, Dr. Diver admitted that the numbers in his Report
were inaccurate:

Q But all of the other incidents that we discussed for [D.N.] which

involved double or triple counting remained part of your analysis
didn't they?

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A lt seems likely that they would, yes
Q l mean, on Table 3 where you list 37 incidents for 1630 hours
that includes double counting a number of the incidents that are
listed in the spreadsheet at Exhibit 2, doesn't it?
A lt seems likely, yes

Diver Dep. p 110.'3-12.5

The second example of double-counting involved an individual With the initials K.A. Diver
Dep. pp. 115.'15-122.' 7. Dr. Diver conceded that “it seems likely” that the several incidents and
counts of time in seclusion for K.A. listed in Diver’s Report were inflated by double-counting
Id.,' see also, Spreadsheet lines 912-913, 914-916.

Ultimately, when asked whether the numbers regarding time in seclusion in his report were
accurate, Dr. Diver testified the he “would need to spend more time with the data to make a
declaration one way or the other.” Ia'., pp. 114.'11-115:1. Dr. Diver could not attest to the counts
of incidents in his Report, noting instead than any adjustments that might be made would alter
those counts Diver Dep. pp. 143.'22-144.'6 (“Q. Do you know whether there were 849 incidents
in which residents of Shenandoah were confined to their rooms for more than four hours? A. Again,
if you are asking if an adjustment needs to be made, that would change the 849. lf an adjustment

is made off of the 849, it would be a different number.”) He also acknowledged that the defects

associated with double-counting the incidents of seclusion would affect various tables and graphs

 

5 Though Dr. Diver professed to need more time with the data to determine the precise impact of
the double-counting of D.N.’s time in seclusion, he was presented with information at deposition
which demonstrates that after removing the duplicative entries on the Spreadsheet D.N. had a
total of 21 incidents involving time in seclusion for a total of 972 hours Diver Dep. pp. 111 .'3-
113.'11. This calculation does not account for the sleeping hours and/or any instances in which
D.N. refused to leave his room. On its face, therefore, Diver’s Report overstates D.N.’s incidents
and hours spent in seclusion by roughly 40%.

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throughout his report Diver Dep. pp. 128.'4-130.'1,' 145.'1-5,' 147.'11-149:5 (regarding impact of
double-counting on Tables 2, 10 and 11, as well as Figures l, 6 and 11 of the Diver Report).

Ultimately, Dr. Diver is unable to state whether any of the numbers calculations charts
and graphs in his report that relate to time in seclusion are accurate By definition, therefore,
Dr. Diver cannot testify to a reasonable degree of certainty that his analysis is accurate, reliable or
grounded in fact As such, his testimony is inadmissible and should be excluded. Bambarger v.
Ameristep, Inc., No. 7:12CV280, 2013 WL 6222540, at *2 (W.D. Va. Nov. 29, 2013) (“Virginia
courts require experts to state their opinions to a reasonable degree of certainty or probability.”)

Dr. Diver’s Report is rife with errors and dramatically inflates both the number of incidents
involving seclusion and the amount of time spent by UAC’s in seclusion. His analysis equates a
resident refusing to leave his room with an incident of confinement by staff, does not account for
those hours in which all residents are confined to their rooms at night and double, triple or even
quadruple counts various incidents and time spent in seclusion for at least some of the UAC’s at
SVJC in the timeframe he reviewed. These flaws render his report completely unreliable and
inadmissible

CONCLUSION

Dr. Diver’s analysis is irrelevant because it covers an irrelevant time period and includes
mostly non-class members who constitute a mere subset of the UAC’s at SVJC. His analysis is
not helpful to the trier of fact because it includes no causal analysis or consideration of the reasons
why force or confinement were used against any class members Diver’s proffered testimony also
lacks an adequate factual foundation, as he has no idea where the data on which he exclusively
relied came from or how that data was compiled. Finally, his report and analysis are inflated by

various methodological flaws

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WHEREFORE, the Defendant respectfully requests that the Court grant its Motion to

Exclude Dr. Diver’s expert testimony.

Respectfully submitted,
SHENANDOAH VALLEY JUVENILE
CENTER COMMISSION
By Counsel

LITTEN & SIPE L.L.P., and

WILLIAMS MULLEN
By: /Sl l-larold E. .lolinsou

Jason A. Botkins

Melisa G. Michelsen

Virginia State Bar No. 70823

Virginia State Bar No. 40001

410 Neff Avenue

Harrisonburg, Virginia 22801-3434
Telephone: (540) 434-5353
Facsimile: (540) 434-6069

Email: jason.botkins@littensipe.corn
Email: melisa.michelsen@littensipe.com
Harold E. Johnson (VSB No. 65591)
Meredith M. Haynes (VSB No. 80163)
Williams Mullen

200 South 10th Street

Richmond, Virginia 23219

Telephone (804) 420-6000

Facsimile: (804) 420-6507

Email: hjohnson@williamsmullen.com
Email: mhaynes@williamsmullen.com

Counselfor Defendant Shenandoah Valley Juvenile Center Comrnission

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CERTIFICATE

l certify that on the 22nGl day of October, 2018, l electronically filed the forgoing document

with the Clerk of the Court using the CM/ECF system, which will send notification of such filing

to:

Hannah M. Lieberman (pro hac vice)
Tiffany Yang (pro hac vice)
Mirela Missova (pro hac vice)

Washington Lawyers Committee
for Civil Rights and Urban Affairs
11 Dupont Circle, NW, Suite 400
Washington, D.C. 20036
Telephone: (202) 319-1000
Facsimile: (202) 319-1010
hannah*lieberman@washlaw.org
tiffany_yang@washlaw.org
mirela_missova@washlaw.org

Attorneysfor Plainlijj’.lohn Doe 4

37161344_1

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Theodore A. Howard (pro hac vice)
Bradley C. Tobias (VSB No. 88046)
J. Ryan Frazee (pro hac vice)

Wiley Rein LLP

1776 K Street NW
Washington, D.C. 20006
Telephone: (202) 719-7120
Facsimile: (202) 719-7049
thoward@wileyrein.com
btobias@wileyrein.com
jfrazee@wileyrein.com

/s/ Harold E. Johnson
Counselfor Shenandoah Valley
Juvenile Center Commission

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